     Case:14-22739-MER Doc#:112 Filed:02/27/19           Entered:02/27/19 12:15:06 Page1 of 1
               UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                       Minutes of Proceeding

February 27, 2019                                              Honorable Michael E. Romero, Presiding
                                                                                        Courtroom C
In re:
                                                                              Case No. 14-22739 MER
LIISA BETH WILSON
                                                                                           Chapter 13
     Debtor.

CONDOMINIUM ASSOCIATION OF WHISPERING
PINES OF DENVER

     Movant

v.

LISA BETH WILSON and DOUGLAS KIEL, Chapter
13 Trustee

     Respondents.

Appearances:
Trustee                                             Counsel
Debtor     Liisa Wilson                             Counsel     Pro se
Creditor   Condo Association                        Counsel     Angela Hopkins

Proceedings: Motion for Relief from Stay filed by the Condominium Association of Whispering Pines of
Denver and Debtor’s response



Orders:

The motion for relief from stay will be granted by separate order. However, the Court stays any
execution of the order for 60 days from the date of the hearing.

                                                        BY THE COURT:
                                                        KENNETH S. GARDNER, CLERK



                                                        By:_____________________________
                                                           Deputy Clerk
